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  8
                            UNITED STATES DISTRICT COURT
  9
                          CENTRAL DISTRICT OF CALIFORNIA
 10
 11   CLEVELAND CONSTANTINE                        Case No.: 2:21-cv-02840-AB-AFM
 12   BROWNE, an individual; ANIKA                 Hon. André Birotte Presiding
      JOHNSON as personal representative of
 13                                                THIRD AMENDED COMPLAINT
      the Estate of WYCLIFFE JOHNSON,              FOR:
 14   deceased; and STEELY & CLEVIE
      PRODUCTIONS LTD.,                              1. COPYRIGHT INFRINGEMENT
 15
                                                     2. VICARIOUS AND/OR
 16   Plaintiffs,                                       CONTRIBUTORY
                                                        COPYRIGHT INFRINGEMENT
 17   v.
 18                                                    JURY TRIAL DEMANDED
      RODNEY SEBASTIAN CLARK
 19   DONALDS, an individual; CAROLINA
 20   GIRALDO NAVARRO, an individual;
      ARMANDO CHRISTIAN PÉREZ, an
 21   individual; GIORDANO ASHRUF, an
 22   individual; SHAREEF BADLOE, an
      individual; RASHID BADLOE, an
 23   individual; JUSTON RECORDS, a French
 24   private limited company; SONY MUSIC
      ENTERTAINMENT, a Delaware general
 25   partnership d/b/a ULTRA MUSIC;
 26   UNIVERSAL MUSIC PUBLISHING,
      INC., a California corporation; BMG
 27   RIGHTS MANAGEMENT, LLC, a
 28                                            1
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  1   Delaware limited liability company;
      WARNER CHAPPELL MUSIC, a
  2   Delaware corporation; KOBALT MUSIC
  3   PUBLISHING LTD, a Delaware
      corporation; WE ALL NEED 1 LLC, a
  4   limited liability company; ULTRA
  5   RECORDS, LLC, a Delaware limited
      liability company; ENERGY MUSIC
  6   CORP, a Florida corporation,
  7
      Defendants.
  8
  9        Plaintiffs Cleveland Constantine Browne, Anika Johnson as personal
 10 representative of the Estate of Wycliffe Johnson, and Steely & Clevie Productions
 11 Ltd., by and through their undersigned attorneys, hereby pray to this honorable Court
 12 for relief based on the following:
 13                                    Jurisdiction & Venue
 14        1.       This action arises under the Copyright Act of 1976, 17 U.S.C. §§ 101, et
 15 seq.
 16        2.       This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331,
 17 1338(a) and (b), & 1367(a).
 18        3.       Venue in this judicial district is proper under 28 U.S.C. § 1391 (c) and §
 19 1400(a).
 20                                            Parties
 21        4.       At all times mentioned herein, Plaintiff Cleveland Constantine Browne
 22 was and is an individual residing in Kingston, Jamaica.
 23        5.       Plaintiff Anika Johnson is a resident of Jamaica, and joins in the action
 24 not individually, but solely in her capacity as the personal representative of the Estate
 25 of Wycliffe Johnson, pursuant to grant of administration by the Supreme Court of
 26 Judicature of Jamaica, Case No. 2015-P-00576. Mr. Johnson died on September 1,
 27 2009 and was a resident of the City of Kingston, parish of Saint Andrew, state of
 28                                               2
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  1 Jamaica, West Indies. As such, Ms. Johnson is a successor-in-interest to all personal
  2 property of Wycliffe Johnson, including any intellectual property rights.
  3         6.     At all times mentioned herein, Plaintiff Steely & Clevie Productions Ltd.
  4 was and is a limited company organized and existing under the laws of Jamaica.
  5         7.     At all times mentioned herein Defendant Rodney Sebastian Clark
  6 Donalds p/k/a El Chombo (“El Chombo”) was and is an individual residing in
  7 Panama and doing business in and with the state of California, including in this
  8 judicial district.
  9         8.     At all times mentioned herein Carolina Giraldo Navarro p/k/a Karol G
 10 (“Karol G”) was and is an individual residing in Medellin, Colombia and doing
 11 business in and with the state of California, including in this judicial district.
 12         9.     At all times mentioned herein Defendant Armando Christian Pérez p/k/a
 13 Pitbull (“Pitbull”) was and is an individual residing in Miami, Florida and doing
 14 business in and with the state of California, including in this judicial district.
 15         10.    At all times mentioned herein Defendant Giordano Ashruf was and is an
 16 individual residing in Arnhem, Netherlands and doing business in and with the state
 17 of California, including in this judicial district.
 18         11.    At all times mentioned herein Defendant Shareef Badloe was and is an
 19 individual residing in Arnhem, Netherlands and doing business in and with the state
 20 of California, including in this judicial district.
 21         12.    At all times mentioned herein Defendant Rashid Badloe was and is an
 22 individual residing in Arnhem, Netherlands and doing business in and with the state
 23 of California, including in this judicial district.
 24         13.    At all times mentioned herein Defendants Giordano Ashruf, Shareef
 25 Badloe and Rashid Badloe collectively p/k/a Afro Bros (“Afro Bros”) were and are a
 26 DJ and record production entity of form unknown from Arnhem, Netherlands and
 27 doing business in and with the state of California, including in this judicial district.
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  1         14.    At all times mentioned herein Defendant Juston Records, individually
  2 (collectively “Juston”) was and is a French private limited company and doing
  3 business in and with the state of California, including in this judicial district.
  4         15.    At all times mentioned herein Sony Music Entertainment, individually
  5 and doing business as “Ultra Music” (collectively “Sony”) was and is an American
  6 record label/music industry conglomerate and a Delaware general partnership with
  7 offices in Santa Monica, California.
  8         16.    At all times mentioned herein Universal Music Publishing, Inc.
  9 (“UMP”) was and is a Delaware corporation with a principal place of business at
 10 2100 Colorado Avenue, Santa Monica, California.
 11         17.    At all times mentioned herein BMG Rights Management, LLC
 12 (“BMG”), was and is a Delaware limited liability company with a principal place of
 13 business at 5670 Wilshire Blvd, Suite 1400, Los Angeles, California 90036.
 14         18.    At all times mentioned herein Warner Chappell Music, Inc. (“Warner”),
 15 was and is a Delaware Corporation, with a principal place of business at 777 S. Santa
 16 Fe Ave, Los Angeles, CA 90021.
 17         19.    At all times mentioned herein Kobalt Music Publishing America Inc.
 18 (“Kobalt”), was and is a Delaware Corporation with a principal place of business at 2
 19 Gansevoort Street 6th Floor, New York, New York 10014, that has registered to do
 20 business and conduct business in the state of California.
 21         20.    At all times mentioned herein We All Need 1 LLC, was and is limited
 22 liability company doing business in and with the state of California, including in this
 23 judicial district.
 24         21.    At all times mentioned herein Ultra Records, LLC (“Ultra”), was and is
 25 a Delaware limited liability company doing business in and with the state of
 26 California, including in this judicial district.
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  1         22.    At all times mentioned herein Energy Music Corp, was and is a Florida
  2 corporation doing business in and with the state of California, including in this
  3 judicial district.
  4         23.    Defendants Does 1 through 20, inclusive, are other parties not yet
  5 identified who have infringed Plaintiffs’ copyrights, have contributed to the
  6 infringement of Plaintiffs’ copyrights, or have engaged in one or more of the
  7 wrongful practices alleged herein. The true names, whether corporate, individual or
  8 otherwise, of Defendants 1 through 20, inclusive, are presently unknown to Plaintiff,
  9 which therefore sue said Defendants by such fictitious names, and will seek leave to
 10 amend this Complaint to show their true names and capacities when same have been
 11 ascertained.
 12         24.    Plaintiffs are informed and believes and thereon alleges that at all times
 13 relevant hereto each of the Defendants was the agent, affiliate, officer, director,
 14 manager, principal, alter-ego, and/or employee of the remaining Defendants and was
 15 at all times acting within the scope of such agency, affiliation, alter-ego relationship
 16 and/or employment; and actively participated in or subsequently ratified and adopted,
 17 or both, each and all of the acts or conduct alleged, with full knowledge of all the
 18 facts and circumstances, including, but not limited to, full knowledge of each and
 19 every violation of Plaintiffs’ rights and the damages to Plaintiffs proximately caused
 20 thereby.
 21                                   Factual Background
 22         25.    Plaintiff Cleveland Constantine Browne, p/k/a Clevie (“Mr. Browne”), is
 23 a world-renowned influential and innovative composer, musician and producer
 24 known for, inter alia, pioneering the use of drum machines in reggae.
 25         26.    Wycliffe Anthony Johnson, p/k/a Steely (“Mr. Johnson”), was a
 26 visionary and innovative composer, musician, and producer.
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  1          27.   Together, Mr. Browne and Mr. Johnson formed the writing, musical and
  2 producing duo Steely & Clevie, and worked on numerous genre-defining projects.
  3 Mr. Browne and Mr. Johnson worked with such artists as reggae legends Bob
  4 Marley, Bunny Wailer, Jimmy Cliff, Gregory Isaacs, Ziggy Marley, and Lee Scratch
  5 Perry.
  6          28.   Plaintiff, Steely & Clevie Productions Ltd. is the production company of
  7 Mr. Browne and Mr. Johnson.
  8          29.   In 1989 Mr. Browne and Mr. Johnson wrote and recorded the
  9 instrumental song entitled Fish Market (the “Song”). The recording and composition
 10 for the Song are registered with the United States Copyright Office under
 11 Registration Number SR0000893268 with an effective date of March 12, 2021.
 12          30.   Fish Market is an original work including an original drum pattern that
 13 gives it a unique sound as compared to prior works. The combination of instruments
 14 in Fish Market includes a drumset incorporating kick, snare, and hi hat. These
 15 instruments are playing a one bar pattern. Fish Market also includes percussion
 16 instruments – tambourine and synthesizer ‘tom’- playing a one bar pattern. A timbale
 17 phrase occurs at the end of every second bar. Timbales also play a free improvisation
 18 over the pattern for the duration of the song.
 19          31.   In 1990, Mr. Browne and Mr. Johnson co-authored the song titled Dem
 20 Bow with Shabba Ranks. Dem Bow was a massive club hit and garnered worldwide
 21 acclaim in the international reggae dancehall scene. Dem Bow’s instrumental (which
 22 is an alternative mix of Fish Market, based on the same multi-track recording) is
 23 iconic and has been acknowledged as foundational to reggaeton music.
 24          32.   On April 2, 2018, Sony, Ultra and Juston released the single Dame tu
 25 Cosita by El Chombo (sometimes referred to as the “Single”).
 26
 27
 28                                             6
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  1         33.   In or about August 2018, Sony, Ultra and Juston released an alternative
  2 mix of Dame tu Cosita by El Chombo, Pitbull, and Karol G (sometimes referred to as
  3 the “Remix”).
  4         34.   Both recordings, the Single and Remix (hereinafter the “Infringing
  5 Works”), were hit songs garnering millions (if not billions) of plays and streams
  6 around the world resulting in significant revenue and profits to Defendants.
  7         35.   The Infringing Works consist of rhythmic speech, drums, and
  8 percussion. The primary rhythm and drum sections of the Single are comprised of an
  9 unauthorized sample and/or a verbatim copy of elements from the Song.
 10         36.   The primary rhythm and drum sections of the Remix are comprised of an
 11 unauthorized sample and/or a verbatim copy of elements from the Song.
 12         37.   The composition of the Single substantially comprises the composition
 13 of Fish Market. The drum pattern of the Single is the drum pattern of Fish Market.
 14 Two versions of the drum pattern are played. The first is one with a ‘stop’ (i.e., a cut)
 15 on the 3rd beat and silence on the 4th beat. The second is like the first but with a
 16 continuous beat (i.e., with no stop). As in Fish Market, the low drum, or bass sound
 17 in the rhythm track of the Single that plays on beats 1 and 3, is pitched at a flat (or
 18 low) B (B-flat or Bb). The main riffs of Fish Market are also included in the Single.
 19 These include the kick and snare pattern, the reinforcing of beats 1 and 3 on a low-
 20 pitched drum, and the sixteenth notes on the ‘and’ of beat 1 from a snare sound. The
 21 kick and snare drums are prominent in the mix of each of the Single in the same
 22 manner that the kick and snare drums are found in Fish Market.
 23         38.   The composition of the Remix substantially comprises the composition
 24 of Fish Market. The drum pattern of the Remix is the drum pattern of Fish Market.
 25 Two versions of the drum pattern are played. The first is one with a ‘stop’ (i.e., a cut)
 26 on the 3rd beat and silence on the 4th beat. The second is like the first but with a
 27 continuous beat (i.e., with no stop). As in Fish Market, the low drum, or bass sound
 28                                              7
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  1 in the rhythm track of the Remix that plays on beats 1 and 3, is pitched at a flat (or
  2 low) B (B-flat or Bb). The main riffs of Fish Market are also included in the Remix.
  3 These include the kick and snare pattern, the reinforcing of beats 1 and 3 on a low-
  4 pitched drum, and the sixteenth notes on the ‘and’ of beat 1 from a snare sound. The
  5 kick and snare drums are prominent in the mix of each of the Remix in the same
  6 manner that the kick and snare drums are found in Fish Market.
  7        39.     A sample of audio from the recording of Fish Market is incorporated
  8 throughout the Single. Particularly, percussive elements mixed in the background of
  9 the Single correspond to the pattern and frequency bandwidth of sounds in Fish
 10 Market. These include the timbales and tambourine which are identifiable and
 11 notable key components in the Song.
 12        40.     A sample of audio from the recording of Fish Market is incorporated
 13 throughout the Remix. Particularly, percussive elements mixed in the background of
 14 the Remix correspond to the pattern and frequency bandwidth of sounds in Fish
 15 Market. These include the timbales and tambourine which are identifiable and
 16 notable key components in the Song.
 17        41.     At no point did Defendants seek or obtain authorization from Plaintiffs
 18 to use Fish Market in connection with the Infringing Works.
 19        42.     Defendants continue to exploit and receive monies from the Infringing
 20 Works, respectively, in violation of Plaintiffs’ rights in the Song. Defendants’
 21 wrongful copying and/or exploitation of Plaintiffs’ copyrighted material has also
 22 allowed for further infringement abroad.
 23                                   First Claim for Relief
 24              (For Copyright Infringement—Against all Defendants, and Each)
 25        43.     Plaintiffs repeat, re-allege, and incorporate by reference all preceding
 26 paragraphs of this Complaint.
 27        44.     Plaintiffs are the sole and exclusive owners of the Song.
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  1        45.    The Song is registered with the U.S. Copyright Office.
  2        46.    The Song is an original composition and recording.
  3        47.    Defendants had access to the Song because the Song was widely
  4 distributed throughout the world since 1989 on vinyl and CD. Defendants also had
  5 access to the Song through distribution of Dem Bow on vinyl and CD which was a
  6 worldwide hit within the global reggae dancehall scene and remains a reggae
  7 dancehall classic. Both the Song and Dem Bow were widely distributed on vinyl and
  8 CD, which were the dominant media formats at the time of release, and together sold
  9 tens of thousands copies on singles and albums within the global reggae dancehall
 10 scene. Both the Song and Dem Bow are also available on streaming platforms,
 11 including Spotify, Apple Music, Amazon, Pandora, and YouTube.
 12        48.    In addition, Defendants’ “sampling” (direct extraction and reproduction
 13 of the Song) establishes access by way of striking similarity, if not virtual identity.
 14        49.    Defendants, and each of them, infringed Plaintiffs’ rights in the Song by
 15 sampling the recording of the Song and reproducing it in one or both of the Infringing
 16 Works without Plaintiffs’ authorization or consent.
 17        50.    Alternatively, Defendants, and each of them, infringed Plaintiffs’ rights
 18 by making a direct copy of the composition of the Song and using that copy in one or
 19 both of the Infringing Works without Plaintiffs’ authorization or consent.
 20        51.    Plaintiffs are informed and believe and thereon allege that Juston, Ultra
 21 and Sony have infringed Plaintiffs’ rights in the Song by, without limitation, (a)
 22 authorizing the reproduction, distribution and sale of records and digital downloads
 23 of the Single and the Remix, through the execution of licenses, and/or actually
 24 reproducing, and/or selling and distributing physical or digital or electronic copies of
 25 the Single and the Remix through various physical and online sources and
 26 applications, including without limitation, through Amazon.com, Walmart, Target
 27 and iTunes; (b) streaming and/or publicly performing or authorizing the streaming
 28                                              9
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  1 and/or public performance of the Single and the Remix through, without limitation,
  2 Spotify, YouTube, and Apple Music; and (c) participating in and furthering the
  3 aforementioned infringing acts, and/or sharing in the proceeds therefrom, all through
  4 substantial use of Fish Market in and as part of the Infringing Songs, packaged in a
  5 variety of configurations and digital downloads, mixes and versions, and performed
  6 in a variety of ways including, but not limited to, audio and video.
  7        52.    Plaintiffs are informed and believes and thereon alleges that Sony, Ultra,
  8 Energy Music Corp, UMP, BMG, Warner, and Kobalt have infringed Plaintiffs’
  9 rights in the Song by, without limitation, exploiting it for profit by licensing, or
 10 otherwise authorizing third parties to use, reproduce and/or perform the Single and/or
 11 the Remix for profit.
 12        53.    Plaintiffs are informed and believes and thereon allege that Defendants
 13 Ultra, El Chombo and Energy Music Corp have infringed Plaintiffs’ rights in the
 14 Song by copying the composition in the Song and/or sampling the recording of the
 15 Song in the production of the Single without Plaintiffs’ authorization.
 16        54.    Plaintiffs are informed and believe and thereon allege that Defendants
 17 Ultra, El Chombo, Energy Music Corp, and Afro Bros have infringed Plaintiffs’
 18 rights in the Song by copying the composition in the Song and/or sampling the
 19 recording of the Song in the production of the Remix without Plaintiffs’
 20 authorization.
 21        55.    Plaintiffs are informed and believe and thereon allege that Defendants El
 22 Chombo, Energy Music Corp, Pitbull, Karol G and Afro Bros, have infringed
 23 Plaintiffs’ rights in the Song by, without limitation, (a) authorizing the reproduction,
 24 distribution and sale of records and digital downloads of the Single and/or the Remix,
 25 through the execution of licenses, and/or actually reproducing, and/or selling and
 26 distributing physical or digital or electronic copies of the Single and/or the Remix
 27 through various physical and online sources and applications, including without
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  1 limitation, through Amazon.com, Walmart, Target and iTunes; (b) streaming and/or
  2 publicly performing or authorizing the streaming and/or public performance of the
  3 Single and/or the Remix through, without limitation, Spotify, YouTube, and Apple
  4 Music; and (c) participating in and furthering the aforementioned infringing acts,
  5 and/or sharing in the proceeds therefrom, all through substantial use of Fish Market
  6 in and as part of the Infringing Songs, packaged in a variety of configurations and
  7 digital downloads, mixes and versions, and performed in a variety of ways including,
  8 but not limited to, audio and video.
  9        56.    Defendants, and each of them, have engaged and continue to engage in
 10 the unauthorized reproduction, distribution, public performance, licensing, display,
 11 and creation of one or both Infringing Works. The foregoing acts infringe Plaintiffs’
 12 rights under the Copyright Act. Such exploitation includes, without limitation,
 13 Defendants’, and each of them, distributing and broadcasting the Infringing Works on
 14 streaming platforms, including Spotify, Apple Music, Amazon, Pandora, and
 15 YouTube.
 16        57.    Due to Defendants’, and each of their, acts of infringement, Plaintiffs’
 17 have suffered actual, general and special damages in an amount to be established at
 18 trial, including but not limited a reasonable license fee for Defendants’ use of the
 19 sample.
 20        58.    Due to Defendants’ acts of copyright infringement as alleged herein,
 21 Defendants, and each of them, have obtained direct and indirect profits they would
 22 not otherwise have realized but for their infringement of Plaintiffs’ rights in
 23 Plaintiffs’ copyrighted composition and sound recording. As such, Plaintiffs are
 24 entitled to disgorgement of Defendants’ profits directly and indirectly attributable to
 25 Defendants’ infringements of their rights in the composition and sound recording in
 26 an amount to be established at trial.
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  1        59.    Plaintiffs are informed and believe and now allege that Defendants, and
  2 each of their, conduct as alleged herein was willful, reckless, and/or with knowledge,
  3 subjecting Defendants, and each of them, to enhanced statutory damages, claims for
  4 costs and attorneys’ fees, and/or a preclusion from deducting certain costs when
  5 calculating disgorgeable profits.
  6                                 Second Claim for Relief
  7 (For Vicarious and/or Contributory Copyright Infringement—Against all Defendants,
  8                                        and Each)
  9        60.    Plaintiffs repeat, re-allege, and incorporate by reference all preceding
 10 paragraphs of this Complaint.
 11        61.    Plaintiffs are informed and believe and now allege that Defendants
 12 knowingly induced, participated in, aided and abetted in and profited from the illegal
 13 reproduction, distribution, and publication of one or both of the Infringing Works as
 14 alleged above. Specifically, the producers (including Sony, Ultra and Juston)
 15 underwrote, facilitated, and participated in El Chombo, Energy Music Corp, Pitbull,
 16 and Karol G’s respective illegal copying during the creation of the Infringing Works
 17 and realized profits through their respective distribution, and publication of the
 18 Infringing Works.
 19        62.    Plaintiffs are informed and believe and now allege that Defendants, and
 20 each of them, are vicariously liable for the infringement alleged herein because they
 21 had the right and ability to supervise the infringing conduct and because they had a
 22 direct financial interest in the infringing conduct. Specifically, each Defendant in the
 23 involved in the infringement had the ability to oversee the publication and
 24 distribution of one or both Infringing Works. And, Defendants, and each of them,
 25 realized profits through their respective obtainment, distribution, and publication of
 26 one or both Infringing Works.
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  1        63.      By reason of Defendants’, and each of their, acts of contributory and
  2 vicarious infringement as alleged above, Plaintiffs have suffered and will continue to
  3 suffer substantial damages in an amount to be established at trial, as well as
  4 additional actual, general, and special damages in an amount to be established at trial.
  5        64.      Due to Defendants’ acts of copyright infringement as alleged herein,
  6 Defendants, and each of them, have obtained direct and indirect profits they would
  7 not otherwise have realized but for their infringement of Plaintiffs’ rights. As such,
  8 Plaintiffs are entitled to disgorgement of Defendants’ profits directly and indirectly
  9 attributable to Defendants’ infringement of Plaintiffs’ rights in their copyrighted
 10 composition and sound recording in an amount to be established at trial.
 11        65.      Plaintiffs are informed and believe and now allege that Defendants, and
 12 each of their, conduct as alleged herein was willful, reckless, and/or with knowledge,
 13 subjecting Defendants, and each of them, to enhanced statutory damages, claims for
 14 costs and attorneys’ fees, and/or a preclusion from deducting certain costs when
 15 calculating disgorgeable profits.
 16                                       Prayer for Relief
 17                                   (Against All Defendants)
 18        66.      With Respect to Each Claim for Relief, Plaintiffs demand judgment
 19 against Defendants as follows:
 20        a. That Defendants, their affiliates, agents, and employees be enjoined from
 21              infringing Plaintiffs’ copyrights in and to Plaintiffs’ copyrighted
 22              composition and sound recording;
 23        b. Granting an injunction permanently restraining and enjoining Defendants,
 24              their officers, agents, employees, and attorneys, and all those persons or
 25              entities in active concert or participation with them, or any of them, from
 26              further infringing Plaintiff’s copyrights in and to Plaintiffs’ copyrighted
 27              composition and sound recording;
 28                                               13
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  1         c. For a constructive trust to be entered over any recordings, videos
  2            reproductions, files, online programs, and other material in connection with
  3            both recordings of Dame tu Cosita, and all revenues resulting from the
  4            exploitation of same, for the benefit of Plaintiffs;
  5         d. That Plaintiffs be awarded all profits of Defendants, and each, plus all
  6            losses of Plaintiffs, plus any other monetary advantage gained by the
  7            Defendants through their infringement, the exact sum to be proven at the
  8            time of trial;
  9         e. That Defendants pay damages equal to Plaintiffs’ actual damages and lost
 10            profits;
 11         f. That Plaintiffs be awarded statutory damages and attorneys’ fees as
 12            available under 17 U.S.C. § 505 or other statutory or common law;
 13         g. That Plaintiffs be awarded pre-judgment interest as allowed by law;
 14         h. That Plaintiffs be awarded the costs of this action; and
 15         i. That Plaintiffs be awarded such further legal and equitable relief as the
 16            Court deems proper.
 17
            Plaintiff demands a jury trial on all issues so triable pursuant to Fed. R. Civ. P.
 18
      38 and the 7th Amendment to the United States Constitution.
 19
 20                                                   Respectfully submitted,
 21
 22 Dated: February 1, 2022               By:         /s/ Scott Alan Burroughs
 23                                                   Scott Alan Burroughs, Esq.
                                                      David Shein, Esq.
 24                                                   Frank Trechsel, Esq.
 25                                                   DONIGER / BURROUGHS
                                                      Attorneys for Plaintiffs
 26
 27
 28                                              14
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